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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
UNITED STATES OF AMERICA,             :
                                      :
v.                                    :
                                      :             Case No. 23-CR-307 (LJL)
MICHAEL SHVARTSMAN,                   :
GERALD SHVARTSMAN, and                :
BRUCE GARELICK,                       :
                                      :
                                      :
                                            :
               Defendants.            :
--------------------------------------x




               MEMORANDUM OF LAW IN SUPPORT OF
          MICHAEL SHVARTSMAN’S MOTIONS TO TRANSFER
       VENUE OF MONEY LAUNDERING AND FORFEITURE COUNTS
                 AND FOR A BILL OF PARTICULARS




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                                  PRELIMINARY STATEMENT

         Defendant Michael Shvartsman respectfully submits this memorandum of law in support

of his motion to transfer money laundering and forfeiture charges to the Southern District of

Florida and for a bill of particulars identifying the alleged acts of concealment.

         Just over two months before a long-scheduled trial on insider trading charges, the

government filed money laundering charges that could well double the length of the trial. Yet

every transaction at issue in these charges occurred outside New York, in Miami. And literally

every document and witness relevant to the subject transactions will be located in Miami. Were it

not for Section 1956(i), which permits venue where the specified unlawful activity has venue, the

defense would move for a mandatory change of venue to Miami. But, in any event, Fed. R. Crim.

P. 21(b) affords this Court discretion to transfer the money laundering counts to the Southern

District of Florida, and it should exercise such discretion. Each of the factors relevant under Rule

21(b) militates in favor of transfer. Such transfer would not only ensure that the substantive money

laundering charges be venued in the district where they belong but also afford the defense adequate

time to prepare while complying with the Court’s previously scheduled trial of the underlying

insider trading charges.

         Moreover, wherever the money laundering charges are tried, the Court should order the

government to provide a bill of particulars as to what acts it alleges constitute concealment. The

charges describe at most Mr. Shvartsman’s use of trading proceeds to pay merchants and/or to buy,

profit from and enjoy, a yacht. Nothing points to concealment, as Count Eleven and 18 U.S.C.

Section 1956 require.1 The government should identify that conduct so that the defense may

adequately prepare for trial as to this element of a Section 1956 violation.


1
    Count Eleven is premised on Section 1956, while Count Twelve is premised on 18 U.S.C. Section 1957.
    Section 1957 does not have a concealment element.


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                                   FACTUAL BACKGROUND

         On June 26, 2023, the government returned the initial Indictment charging insider trading.

(Dkt. 1). After months of discovery and just two months before the scheduled trial, the government

filed a Superseding Indictment that added counts Eleven and Twelve. (Dkt. 81).2 It also added

more detailed allegations in a forfeiture count.

         Count Eleven consists of a charge for money laundering pursuant to 18 U.S.C. Section

1956(a)(1)(B)(i), alleging that Mr. Shvartsman attempted to conceal funds derived from his alleged

insider trading activities by placing those funds in a purported “washing account.” (Sup. Ind. ¶ 26).

Count Twelve consists of a charge for engaging in a monetary transaction in property derived from

specified unlawful activity pursuant to 18 U.S.C. Sections 1957, alleging that Mr. Shvartsman

engaged in monetary transactions derived from his alleged insider trading (Sup. Ind. ¶ 28). The

newly added forfeiture allegations now seek forfeiture of funds in a specified bank account owned

by EFT Business Services, LLC, a yacht and three Yamaha Jet Skis. (Sup. Ind. ¶ 29 a-c).

         According to the government, then, the alleged money laundering consists of two separate

series of transactions. The first is the use of some part of the DWAC trading proceeds for an

affiliated company, EFT, to pay the debts owed to merchants. And the second was the use of

another portion of the trading proceeds to purchase a yacht.

         None of the allegations relating to those transactions occurred in the Southern District of

New York. Virtually all of them occurred in the Southern District of Florida. See Declaration of

Tai H. Park, dated February 29, 2024 (“Park ML Dec.”), paragraphs 3-9.




2   The Superseding Indictment is referred to as “Sup. Ind. ¶ ___.”


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                                           ARGUMENT

   I. THE COURT SHOULD TRANSFER COUNTS ELEVEN AND TWELVE, AS
      WELL AS THE FORFEITURE COUNT, TO THE SOUTHERN DISTRICT OF
      FLORIDA PURSUANT TO FED. R. CRIM. P. 21(B).

       A. Legal Standard

       Fed. R. Crim. P. Rule 21(b) provides: “Upon the defendant’s motion, the court may transfer

the proceeding, or one or more counts, against that defendant to another district for the convenience

of the parties, any victim, and the witnesses, and in the interest of justice.” In deciding whether to

transfer, the Court “should consider and balance the non-exclusive list of factors set out in Platt v.

Minnesota Mining & Mfg. Co., 376 U.S. 240 (1964).” United States v. Templin, 251 F. Supp. 2d

1223, 1224 (S.D.N.Y. 2003). The Platt factors include:

       (1) the location of the defendant; (2) the location of possible witnesses; (3) the
       location of events likely to be at issue; (4) the location of relevant documents; (5)
       the potential for disruption of the defendant’s business if transfer is denied; (6)
       expenses to be incurred by the parties if transfer is denied; (7) the location of
       counsel; (8) the relative accessibility of the place of trial; (9) docket conditions in
       each district; and (10) any other special circumstances that might bear on the
       desirability of transfer.

Templin, 251 F. Supp. 2d at 1224 (citing Platt, 376 U.S. at 243-44). “No one of these factors is

dispositive, and a balance should be struck in determining which are of the greatest importance in

the case before the court.” Templin, 251 F. Supp. 2d at 1224 (citing United States v. Maldonado--

Rivera, 922 F.2d 934, 966 (2d Cir. 1990)).

       In addition:

       The beneficent purposes of Rule 21(b) will be thwarted, also, if it is supposed that
       there is a general rule that a criminal prosecution should be retained in the original
       district. There should be no general rule whatever on the subject, although it is
       proper to require the defendant, as the moving party, to carry the burden of showing
       why a transfer would serve the purposes specified in the rule. Instead of applying a
       supposed general rule, the court should examine all the circumstances of the
       particular case and determine what place of trial will best serve convenience and
       the interest of justice in that case.

Wright & Miller, Transfer in the Interest of Justice—Standard for Transfer, 2 Fed. Prac. & Proc.


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Crim. § 345 (4th ed.) (internal footnotes and quotations omitted). As Judge Posner explained:

“nothing in Rule 21(b) or in the cases interpreting it place on the defendant seeking a change of

venue the burden of establishing ‘truly compelling circumstances’ for such a change. It is enough

if, all relevant things considered, the case would be better off transferred to another district.”

Matter of Balsimo, 68 F.3d 185, 187 (7th Cir. 1995) (citations omitted).

       B. The Money Laundering and Forfeiture Counts Should be Transferred to the
          Southern District of Florida.

       We begin with Rule 21(b) instructions to consider a transfer of venue if it be in the interests

of justice. That factor strongly supports a transfer. The defense remains extremely concerned that

it does not have enough time to prepare adequately for the last-minute superseding charges with

very serious counts that are likely to substantially lengthen the trial of this case. The case has been

transformed from one involving factual issues surrounding trading decisions in October 2021 to

one that now includes two disconnected financial transactions occurring years later. The two-

week extension granted by the Court at the last conference is far less than the two months sought

in light of the new charges. A transfer would resolve this problem that was not of the Court’s or

the defense’s making. If and only if the government succeeds in obtaining a conviction on the

insider trading charges, Mr. Shvartsman and the government (not the other defendants) would then

have to contend with the money laundering charges. Under these extreme circumstances, it is

clearly in the interest of justice that these belated charges be tried later in a more appropriate venue

and only if required.

       This is especially true where each of the relevant Platt factors likewise supports a transfer

of venue to the Southern District of Florida.

       First, the Southern District of Florida is undoubtedly the “nerve center” of the money

laundering charges. United States v. Alter, 81 F.R.D. 524, 526 (S.D.N.Y. 1979) (Weinfeld, J.)

(granting transfer when “most, if not all, of the acts and conduct in furtherance of the alleged


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scheme to defraud occurred in Miami,” which “was the ‘nerve center’ of the alleged illicit

operations”); accord, e.g., United States v. Martino, No. 00 Cr. 389 (RCC), 2000 WL 1843233, at

*7 (S.D.N.Y. Dec. 14, 2000) (similar). See also, United States v. Valdes, No. 05-CR-156 (KMK),

2006 WL 738403, at *6 (S.D.N.Y. Mar. 21, 2006) (recognizing that “[m]ost, if not all, of the

alleged acts and conduct of the Section 1960 Defendants in furtherance of the alleged unlawful

money transmitting occurred in the Southern District of Florida” and granting motion to transfer

despite government arguments that “Florida accounts were also used to conduct money transfers

to and from ‘many places outside of Florida’” and that the “criminal activity alleged t o have

occurred was national in scope”).

       Second, and as a consequence of the above, none of the likely witnesses for the money

laundering charges are based in New York; they are instead all in or around Miami, Florida. (Park

ML Dec. ¶ 80). See, e.g., United States v. Russell, 582 F. Supp. 660, 662–63 (S.D.N.Y. 1984)

(granting transfer when a “majority of [the government’s] witnesses will come from abroad” and

“a large number of” defense witnesses would come from another district).            Notably, the

government’s money laundering investigation was initially launched in the Southern District of

Florida, not in the Southern District of New York, and the primary government witness appears to

be a Miami DHS agent who later continued that investigation with the Southern District of New

York. (Park ML Dec. ¶ 9).

       By comparison, many of the Defendant’s witnesses who will come in to explain the various

relevant transactions pertaining to the EFT account or to the yacht purchase will be employees of

Mr. Shvartsman’s affiliated businesses and are located in Miami. Their traveling for extended

periods of time would create unnecessary business disruption. (Park ML Dec. ¶ 6). See United

States v. Aronoff, 463 F. Supp. 454, 458–59 (S.D.N.Y. 1978) (transferring charges when the

defendant, his witnesses, his alleged illegal activities, and his business were all located in the



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transferee district, even though it required two separate trials). The expense associated with

transporting and housing witnesses in the Southern District of New York also favors a transfer.

Russell, 582 F. Supp. at 663 (considering “total outlay of funds” required to transport and provide

accommodations to witnesses and others as part of transfer analysis); compare United States v.

Ohran, No. 99 CR, 142 (JSM), 2000 WL 620217, at *4 (S.D.N.Y. May 12, 2000) (“[w]hile a trial

in Florida might cause greater expense to the Government than it would to Mr. [Shvartsman], the

Government is clearly in a better position to bear that expense.”)

          Third, given that Mr. Shvartsman and his business interests are all based in Miami, Florida,

the relevant documentary evidence is also primarily located within the Southern District of Florida

(Park ML Dec. ¶ 8). And, even if the government has seized some of the relevant documents and

transferred them to the Southern District of New York, that would “not properly lie in favor of the

[g]overnment’s opposition to the change of venue.” United States v. Spy Factory, Inc., 951 F.

Supp. 450, 458 (S.D.N.Y. 1997) (Sotomayor, J.).3

          Fourth, Mr. Shvartsman and his young family all reside in Miami, Florida, and “courts

should, wherever possible, try defendants where they reside” as “a matter of policy.” United States

v. Fiorentino, No. CR 13-0338 SJF, 2014 WL 108415, at *4 (E.D.N.Y. Jan. 6, 2014); accord

Russell, 582 F. Supp. at 662 (“Unquestionably, it can be a hardship for defendants to stand trial far

away from home.”). In fact, this consideration has been given “greater weight” than “any other

factor.” United States v. Martino, No. 00 CR 389 (RCC), 2000 WL 1843233, at *6 (S.D.N.Y. Dec.

14, 2000).



3   Docket conditions would be a neutral factor in this case as both the Southern District of New York and
    the Southern District of Florida are equally equipped to handle a trial of the counts in question. United
    States v. Fiorentino, No. CR 13-0338 SJF, 2014 WL 108415, at *7 (E.D.N.Y. Jan. 6, 2014) (disregarding
    the docket analysis as neutral when both courts had the means to try the case). Docket conditions also
    “cannot outweigh the other factors that persuasively demonstrate that the ‘interest of justice’ requires the
    transfer of this case.” Ohran, 2000 WL 620217, at *4.


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        Here, Mr. Shvartsman will already have had to spend weeks away from his wife and small

children while he is in New York in connection with the insider trading charges. That period will

be unnecessarily prolonged by additional days or weeks to sit through the money laundering

charges. Fiorentino, 2014 WL 108415, at *4; accord, e.g., United States v. Cashin, 281 F.2d 669,

675 (2d Cir. 1960) (courts should, “whenever possible,” try charges “at the residence of the

defendant”).

        Finally, as to the “special circumstances” factor, the government’s belated filing of these

charges has prejudiced Mr. Shvartsman’s right to timely notice and opportunity to defend. This

factor is discussed supra at 4, and further supports transfer of venue.

        As the Court observed in United States v. Ohran, No. 99 CR, 142 (JSM), 2000 WL 620217,

at *3 (S.D.N.Y. May 12, 2000): “In the present case, the defendant’s residence in Florida, the fact

that all his allegedly criminal acts took place there, and the location of his business there-Platt

factors 1, 3, and 5-strongly support the requested transfer, and none of the other factors strongly

support retaining the case in this district.”

        Counts Eleven and Twelve of the Superseding Indictment, as well as the forfeiture count,

which is conditioned on the money laundering counts, should accordingly be transferred to the

Southern District of Florida.

 II.    THE COURT SHOULD ORDER THE GOVERNMENT TO PROVIDE A BILL OF
        PARTICULARS IN CONNECTION WITH COUNT ELEVEN

        A. Legal Standard

        The United States Constitution requires that a defendant be provided with notice of the

accusations he must answer. U.S. Const. amend. VI (“In all criminal prosecutions, the accused shall

enjoy the right . . . to be informed of the nature and cause of the accusation . . . .”). Moreover, Rule

7 of the Federal Rules of Criminal Procedure requires that an Indictment provide a “plain, concise

and definite written statement of the essential facts constituting the offense charged.” Moreover, the


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Sixth Amendment and “basic principles of fundamental fairness” require that the indictment apprise

the defendant of the charges he must meet. Russell v. United States, 369 U.S. 749, 765 (1962).

       To ensure that the defendant’s rights to notice and defense guaranteed by the Fifth and Sixth

Amendments are protected, a bill of particulars may be necessary. District courts have broad

discretion to order the government to provide a bill of particulars. See Will v. United States, 389

U.S. 90, 98-99 (1967); United States v. D’Amico, 734 F. Supp. 2d 321, 335 (S.D.N.Y. 2010). A

motion for a bill of particulars should be granted where additional details of the charge are

“necessary to the preparation of [the] defense, and to avoid prejudicial surprise at the trial.” United

States v. Torres, 910 F.2d 205, 234 (2d Cir. 1990) (quotation omitted); see also United States v.

Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987) (“Rule 7(f) . . . permits a defendant to seek a bill of

particulars in order to identify with sufficient particularity the nature of the charge pending against

him, thereby enabling [the] defendant to prepare for trial, to prevent surprise, and to interpose a

plea of double jeopardy should he be prosecuted a second time for the same offense.”). The

government must disclose information that is necessary for the defendant to prepare a defense

against the government’s charges, even if disclosure reveals the government’s evidence or theories

of the case. United States v. Barnes, 158 F.3d 662, 665 (2d Cir. 1998); See also United States v.

King, No. 94 Cr. 455 (LMM), 1995 WL 146252, at *1 (S.D.N.Y. April 4, 1995) (“a defendant being

presumed to be innocent, it must be assumed that he is ignorant of the facts on which the pleader

founds his charges”).

       Moreover, in resisting a bill of particulars, the “government may not ‘rely solely on the

quantity of information disclosed’; ‘sometimes, the large volume of material disclosed is

precisely what necessitates a bill of particulars.’” United States v. Rajaratnam, No. 09 CR. 1184

(RJH), 2010 WL 2788168, at *2 (S.D.N.Y. July 13, 2010) (collecting cases); see also United

States v. Nacchio, No. 05 CR 00545 EWN, 2006 WL 2475282, at *7 (D. Colo. Aug. 25, 2006) (“It



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is not sufficient simply to refer defense counsel to discovery. As the court noted in the March 24,

2006 hearing “[a]nyone who is familiar with the boxcar approach to discovery in civil cases knows

that dumping vast quantities of documents and information on one’s opposing party does not

always elucidate what is going on, so that the [d]efendant can adequately prepare for trial.”).

       B. A Bill of Particulars Must Identify Details of the Element of Concealment

       In order to prove its money laundering claim pursuant to 18 U.S.C. § 1956, the concealment

element is key:

       With respect to the defendant’s state of mind, the “concealment” prong of the
       money laundering statute requires the Government to prove both that the defendant
       knew that he was conducting financial transactions “designed ... to conceal or
       disguise the nature, the location, the source, the ownership, or the control” of the
       funds in which he was dealing and that the defendant knew that “he [wa]s dealing
       with the proceeds of ‘some’ crime even if he d[id] not know precisely which crime.”
       United States v. Maher, 108 F.3d 1513, 1525–26 (2d Cir. 1997).

United States v. Pikus, 39 F.4th 39, 44 (2d Cir. 2022). The allegations of money laundering in the

Superseding Indictment provide insufficient notice of the acts that the government intends to prove

to satisfy the concealment element.      These particulars are essential for Mr. Shvartsman to

adequately prepare a defense and avoid unfair surprise at trial. While “concealment” is alleged

generally by parroting the language of the statute (Sup. Ind. ¶ 26 (“knowing that the transaction

was designed in whole and in part to conceal and disguise the nature, the location, the source, the

ownership, and the control of the proceeds of specified unlawful activity”)), the actual acts are not

alleged.

       Instead, the Superseding Indictment claims that Mr. Shvartsman sent part of the DWAC

proceeds to an operating bank account that the government self-servingly dubbed “the Washing

Account,” which received a high volume of activity and thus “provided an effective method” of

concealment. (Sup. Ind. ¶15). And as to the yacht, ¶16 of the Superseding Indictment cryptically

alleges that “Michael Shvartsman took measures, including the use of corporate forms, multiple



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bank transfers, and legal agreements, to conceal the source of the funds used to purchase the yacht,

as well as the ownership and control of the yacht once acquired.” As the government well knows

from the documents they obtained from Mr. Shvartsman and his affiliated companies’ counsel, as

well as presentations made to them, every one of these transactions had a business purpose that

was meticulously documented. (Park ML Dec. ¶ 10). There was no ability to hide anything about

the source of the funds or Mr. Shvartsman’s connection to them.

       Thus, these generalized and cryptic allegations are insufficient for Mr. Shvartsman to get

ready to defend himself. He must be told what the government intends to tell the jury were the

acts of deliberate concealment. If they merely intend to rely on the facts alleged in the indictment,

and no more, they should say so. If, on the other hand, they intend to prove other acts that they

contend constitute concealment, the Court should order the government to provide notice. See

United States v. Hsia, 24 F. Supp. 2d 14, 33 (D.D.C. 1998) (granting a Motion for Bill of

Particulars because, “the indictment does not provide Ms. Hsia with sufficient information about

the specific acts of concealment [in connection with non-money laundering charges] alleged for

her to adequately prepare her defense and avoid surprise at trial.”). Cf. Bortnovsky, 820 F.2d at

574-75 (concluding that defendant was hindered in preparing its case where the district court failed

to require the government to reveal crucial information regarding fake burglaries and the identity

of fraudulent documents, which in turn forced defendants to explain in unrelated burglaries and

confront numerous documents unrelated to the charges pending).




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                                        CONCLUSION

        For all the foregoing reasons, the Court should transfer venue of the money laundering and

forfeiture claims to the Southern District of Florida and compel the government to provide a bill

of particulars.

Dated: February 29, 2024
                                                 Respectfully submitted,


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